                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

JOHN RUFFINO and MARTHA )
RUFFINO, Husband and Wife,    )
                              )
      Plaintiffs,             )
                              )                         CASE No. 3:17-cv-00725
v.                            )                         Judge Campbell
                              )                         Magistrate Judge Newbern
DR. CLARK ARCHER and HCA      )
HEALTH SERVICES OF TENNESSEE, )                         JURY DEMANDED
INC. d/b/a STONECREST MEDICAL )
CENTER                        )
                              )
      Defendants.             )
                              )

    DR. ARCHER’S MOTION IN LIMINE NO. 1 TO EXCLUDE TESTIMONY OF
PLAINTIFF’S EXPERT, TROY T. POPE, M.D., ON CERTAIN ISSUES OF CAUSATION


          COMES NOW Defendant, Dr. Clark Archer (hereinafter "Dr. Archer") and respectfully

moves the Court in limine to enter an Order excluding any testimony from Plaintiffs’ expert,

Troy T. Pope, M.D., regarding:

          (1) Whether the administration of intravenous tPA1 alone would have, to a reasonable

degree of medical certainty, caused Mr. Ruffino to have an improved neurologic outcome;

          (2) Whether an endovascular thrombectomy or any endovascular interventions, alone or

in addition to the administration of tPA would have caused, to a reasonable degree of medical

certainty, Mr. Ruffino to experience an improved neurologic outcome.

                                    ARGUMENT AND AUTHORITY:

          First, the Court of Appeals for the Sixth Circuit has expressly held that when a federal

court exercises it diversity jurisdiction over a case, the Federal Rules of Evidence govern


    1
        Tissue plasminogen activator.



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procedural issues, whereas state substantive law, here Tennessee’s, governs the substantive

issues. Legg v. Chopra, 286 F.3d 286, 289-290 (6th Cir. 2002). Tennessee’s substantive law

requires that plaintiff establish through competent expert testimony the following elements:

                (1) The recognized standard of acceptable professional practice in
               the profession and the specialty thereof, if any, that the defendant
               practices in the community in which the defendant practices or in a
               similar community at the time the alleged injury or wrongful action
               occurred;
               (2) That the defendant acted with less than or failed to act with
               ordinary and reasonable care in accordance with such standard;
               and
               (3) As a proximate result of the defendant's negligent act or
               omission, the plaintiff suffered injuries which would not
               otherwise have occurred.

Tenn. Code Ann. § 29-26-115 (2018) (emphasis added). The last element is the causation prong

that a plaintiff is required to establish through expert testimony. Id.

       Pursuant to Rule 702 of the Federal Rules of Evidence and Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579 (1993), an expert witness must be qualified to offer opinions that will

assist the jury in understanding the evidence or a fact in issue. In order to be qualified, the

expert’s opinions and testimony must be based on “credible and reliable science.” Legg, 286

F.3d at 291. Courts are tasked with the role of gatekeeper and required to ensure that expert

testimony is relevant and reliable. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999)

(quoting Daubert, 509 U.S. at 589).

       Some of the relevant factors a court is to consider in determining whether an expert’s

testimony is reliable are:

               [1] Whether a theory or technique . . . can be (and has been) tested;
               [2] Whether it has been subjected to peer review and publication;
               [3] Whether, in respect to a particular technique, there is a high
               known or potential rate of error and whether there are standards
               controlling the technique's operation; and



                                                  2

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              [4] Whether the theory or technique enjoys general acceptance
              within a relevant scientific community.

Kumho Tire Co., 526 U.S. at 149-50 (citing Daubert, 509 U.S. at 592-94) (internal quotations

omitted). Further non-exclusive factors a court may consider are:

              (1) Whether experts are “proposing to testify about matters
              growing naturally and directly out of research they have conducted
              independent of the litigation, or whether they have developed their
              opinions expressly for purposes of testifying.” Daubert v. Merrell
              Dow Pharmaceuticals, Inc., 43 F.3d 1311, 1317 (9th Cir. 1995).

              (2) Whether the expert has unjustifiably extrapolated from an
              accepted premise to an unfounded conclusion. See General Elec.
              Co. v. Joiner, 522 U.S. 136, 146 (1997) (noting that in some cases
              a trial court “may conclude that there is simply too great an
              analytical gap between the data and the opinion proffered”).

              (3) Whether the expert has adequately accounted for obvious
              alternative explanations. See Claar v. Burlington N.R.R., 29 F.3d
              499 (9th Cir. 1994) (testimony excluded where the expert failed to
              consider other obvious causes for the plaintiff's condition).
              Compare Ambrosini v. Labarraque, 101 F.3d 129 (D.C. Cir. 1996)
              (the possibility of some uneliminated causes presents a question of
              weight, so long as the most obvious causes have been considered
              and reasonably ruled out by the expert).

              (4) Whether the expert “is being as careful as he would be in his
              regular professional work outside his paid litigation consulting.”
              Sheehan v. Daily Racing Form, Inc., 104 F.3d 940, 942 (7th Cir.
              1997). See Kumho Tire Co. v. Carmichael, 119 S.Ct. 1167, 1176
              (1999) (Daubert requires the trial court to assure itself that the
              expert “employs in the courtroom the same level of intellectual
              rigor that characterizes the practice of an expert in the relevant
              field”).

              (5) Whether the field of expertise claimed by the expert is known
              to reach reliable results for the type of opinion the expert would
              give. See Kumho Tire Co. v. Carmichael, 119 S.Ct. 1167, 1175
              (1999) (Daubert's general acceptance factor does not “help show
              that an expert's testimony is reliable where the discipline itself
              lacks reliability, as for example, do theories grounded in any so-
              called generally accepted principles of astrology or necromancy.”),
              Moore v. Ashland Chemical, Inc., 151 F.3d 269 (5th Cir. 1998) (en
              banc) (clinical doctor was properly precluded from testifying to the

                                               3

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                 toxicological cause of the plaintiff's respiratory problem, where the
                 opinion was not sufficiently grounded in scientific methodology);
                 Sterling v. Velsicol Chem. Corp., 855 F.2d 1188 (6th Cir. 1988)
                 (rejecting testimony based on “clinical ecology” as unfounded and
                 unreliable).

Fed. R. Evid. 702 advisory committee note.

         In the present case, as set out in further detail below, Dr. Pope is not qualified to testify

about certain issues related to causation in the instant case either because he has retracted such

opinions, or he lacks a reliable scientific basis for the opinions.

         I.      Dr. Pope cannot offer an opinion regarding whether the administration of
                 intravenous tPA alone would have caused an improved neurologic outcome.

         In the present case, Dr. Poe indicated that the scope of his Rule 26 Report was to cover

causation and that his opinion was that the failure to administer intravenous tPA and transfer Mr.

Ruffino to a comprehensive stroke center, more likely than not worsened Mr. Ruffino’s

outcome.2 Dr. Pope also executed an affidavit that stated “I am familiar with . . . the recent

medical literature regarding outcomes for stroke patients as published in peer-reviewed medical

journals, and I have formed opinions in this matter on (3) causation.”3 Much of his Rule 26

Report mirrors his affidavit. In sum, his Rule 26 report is simply that the administration of tPA

and an endovascular thrombectomy would have likely provided Mr. Ruffino with a better

outcome than he received without that treatment being provided.4

         During his deposition, Dr. Pope indicated that he could not give an opinion to a

reasonable degree of medical certainty (more likely than not), that IV tPA alone would have

caused or contributed to cause an improved neurologic outcome in Mr. Ruffino.


     2
       See Dr. Troy Pope’s Rule 26 Report (“Dr. Pope’s Report”), at 3 of 35; 33 of 35; 35 of 35. A copy of this
document has been filed separately pursuant to a Notice of Filing.
     3
       See Affidavit of Dr. Troy Pope (Dr. Pope’s Aff.”), at ¶¶ 9, 15. A copy of this Affidavit was previously filed
and is Doc. 46-1.
     4
       See Dr. Troy Pope’s Rule 26 Report, at 22 of 35.

                                                         4

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More specifically, Dr. Pope testified:

                 Q. And we'll stop on that one. Do you agree with Dr. Callahan's
                 assessment that patients that have just TPA only have about a 30
                 percent chance of success?

                 A. I believe it's in the 30s.

                 Q. Less than 40 percent?

                 A. I believe so, yes.5

                                                     ***

                 Q.· ·It's my understanding that less than 40 percent have improved.

                 A.· · From TPA alone, correct.

                 Q.· ·From TPA alone?

                 A.· · Correct.6

                                                     ***

                 Q.· ·And you can't say more likely than not that TPA alone, when
                 Dr. Archer and the folks at StoneCrest saw Mr. Ruffino, would
                 have resulted in recannulization, can you?

                 A. Resulted in recannulization. Meaning clearing the clot?

                 Q. Clearing the clot.

                 A. I can't tell you that, no.7

                                                     ***

                 Q. And so it's not -- you're not a neurologist, and you're not an
                 expert in the areas of what improvement he would have had had he
                 gotten TPA or –

                 A. That's –


     5
       Transcript of the Deposition of Troy T. Pope, M.D., on March 23, 2018 (“Dr. Pope’s Depo.”), at 27:3 – 8. A
copy of this transcript is being filed pursuant to a Notice of Filing.
     6
       Dr. Pope’s Depo., at 89:8 – 12.
     7
       Id. at 91:17 – 24.

                                                       5

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                  Q.-- anything of that nature; is that fair?

                  A. -- fair.8

          As the foregoing exchanges make clear, the medical literature does not support, nor does

Dr. Pope disagree, that IV tPA alone would have cause or contributed to cause Mr. Ruffino, to a

reasonable degree of medical certainty, to experience an improved neurologic outcome.

Therefore, any testimony otherwise would be unreliable and subject to exclusion pursuant to

Rule 702 of the Federal Rules of Evidence. Further, his Rule 26 Report did not purport to sever

the administration of tPA alone from his opinion on causation. Likewise, Rule 403 of the

Federal Rules of Evidence. would require exclusion of any testimony along these lines as it

would mislead the jury, confuse the issues (Dr. Pope’s opines that administration of tPA and

then transfer to a comprehensive stroke center are required), lead to a waste of time or undue

delay as defense counsel would then have to impeach Dr. Pope’s testimony (likewise leading to

further confusion of the issues).

          For these reasons, Dr. Archer respectfully asks this Court to enter an order excluding any

testimony from Dr. Pope regarding the administration of tPA alone and whether it would have

cause or contributed to cause Mr. Ruffino, to a reasonable degree of medical certainty, to have

experienced an improved neurologic outcome.

          II.     Dr. Pope is not qualified to offer an opinion about endovascular treatment or
                  whether it, alone or subsequent to the administration of tPA, would have
                  caused Mr. Ruffino to have an improved neurologic outcome.

          In Dr. Pope’s Rule 26 Report, he opined that “individually and together, the departures

from the standard of care more likely than not caused or contributed to cause the continued

severity of John Ruffino’s symptoms that resulted from brain injury sustained during an acute


    8
        See Dr. Pope’s Depo, at 97:2 – 97:7 (emphasis added).

                                                        6

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ischemic stroke on 2/17/16.”9          In further detail, his report offered the following opinions

regarding causation:

                 [I]t was within the window of time at 1220-1300 for treatment of
                 the stroke including IV tPa and an endovascular thrombectomy to
                 have likely provided Mr. Ruffino with a better outcome than he
                 received without that treatment being provided. The treatment that
                 could have been provided by Dr. Archer and/or under his direction
                 and/or management was to administer IV tPA and to arrange
                 transfer to a comprehensive stroke center. Had those things been
                 done within at least 6 hours of Dr. Archer first seeing the patient at
                 approximately 1220, Mr. Ruffino would have had a better outcome
                 from his stroke. That improved blood flow via such treatment
                 being provided within 6 hours of 1200 would have likely limited or
                 prevented the permanent brain injury that occurred as a result of
                 the lack of such treatment causing that decreased blood flow
                 through that vessel of the brain – thus providing a better outcome
                 for the patient.10

          However, during his deposition, Dr. Pope offered the following opinions on endovascular

treatment:

                 Q. And you, as an ER physician, and Dr. Archer as an ER
                 physician, don't make the decision on whether or not endovascular
                 treatment is appropriate for a patient, correct?

                 A. Correct.

                 Q.· That's left up to neurology?

                 A. Correct.11

Essentially, his testimony is that he cannot offer an opinion on whether endovascular treatment

was warranted in this case. As an Emergency Room physician,12 Dr. Pope conceded that he

cannot give an opinion as to whether endovascular treatment should or should not be ordered for



     9
      See Dr. Pope’s Report, at 3 of 35, ¶ 3; 6 of 35, ¶ c;
     10
       Dr. Pope’s Report, at 22 of 35(emphasis added); see also Dr. Pope’s Aff., at ¶¶ 15, 19.
    11
       Dr. Pope Depo., at 46:16 – 22.
    12
       Dr. Pope’s Report, at 32 of 35 (“Since 2013, I have continuously worked as an ER physician at St. Joseph
London Hospital in London, Kentucky.”)

                                                      7

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a patient. Thus, it naturally follows that he would not be able to offer an opinion as to whether

endovascular treatment (including a thrombectomy13) would cause or contribute to an improved

neurologic outcome for Mr. Ruffino. Dr. Pope does not even know if it would be medically

indicated in this case, so there is no basis for him to state that it would change any outcome Mr.

Ruffino experienced.

          Further, even without this portion of his testimony, the rest of Dr. Pope’s testimony

indicates that the basis for his opinions on endovascular treatment such as a thrombectomy are

not reliable. In Dr. Pope’s Rule 26 Report, he indicated that the basis of part of his testimony

was the AHA/ASA Guidelines that were published in 2013.14 Specifically, he testified to the

following:

                 A. Yeah, 2007, 2009, and 2013 were the AHAA articles I
                 referenced. The 2013 one, that's the “Guidelines for the Early
                 Management of Patients with Acute Ischemic Stroke."

                 Q. When was the patient in the emergency room?

                 A. Two thousand and -- we just had this problem earlier. 2016.

                 Q. Why didn't you cite to the Guidelines for Management of
                 Stroke from 2015 instead of the 2013?

                 A. I'm not sure. I don't -- I don't – please show me the article you're
                 speaking of.15

                 [Dr. Pope was handed a copy of the 2015 Guidelines, which were
                 marked as Exhibit 10 to his deposition]

                                                      ***


     13
         A thrombectomy the surgical removal of a thrombus, which is a blood clot that adheres to the wall of blood
vessel or organ and may or may not obstruct the follow of blood. See THOMBUS; THROMBECTOMY, TABER'S
ONLINE MEDICAL DICTIONARY (22nd ed. 2015) available at https://www.tabers.com/tabersonline/view/Tabers-
Dictionary/744622/all/thrombus;
https://www.tabers.com/tabersonline/view/TabersDictionary/737862/all/thrombectomy
      14
         Dr. Pope’s Report, at 34 of 35, at ¶ 6.
      15
         Dr. Pope’s Depo., at 92:14 – 24.

                                                        8

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                  Q. You see at the top where it says, "2015 updates to 2013"?

                  A. Uh-huh. Q. I think you told me earlier that it's important as an
                  expert witness to utilize the literature that would have been in
                  place at the time?

                  A. Yes.

                  Q. So that would be the appropriate literature to look at when
                  evaluating this criteria, correct?

                  [OBJECTION OMITTED]

                  A. It would be one of them, yes.

                  Q. And that replaces the 2013 guidelines, correct?

                  A. I would agree.

                  Q. You did –

                  A. I'm guessing that my bibliography is incorrect more than me not
                  having read this.

                  Q. All right. Your NIHSS Stroke Scale was four on Mr. Ruffino at
                  the time that he was at StoneCrest, correct?

                  A. That's correct.

                  Q. And if you look in the candidates for endovascular
                  thrombectomy -- I think it's page 3031, but I'd have to double
                  check that.

                  A. I think I see it. Are you talking about this page?16

                                                  ***

                  Q. If you look under number two it says, "Patient should receive
                  endovascular therapy with a stent retriever, if they meet all the
                  following criteria." Do you see that?

                  A. I do.




   16
        Dr. Pope’s Depo., at 93:12 – 94:12.

                                                     9

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            Q. Letter E is an NIHSS stroke scale greater than or equal to six.
            Do you see that?

            A. I do.

            Q. Mr. Ruffino does not meet that criteria, does he?

            A. Not at StoneCrest, no, sir.

            Q. So he was not a candidate for TPA and endovascular
            treatment at StoneCrest, was he?

            [OBJECTION OMITTED]

            A. He was not a candidate. This is for endovascular treatment,
            not for a TPA.

            Q. He was not a candidate for endovascular treatment, was he?

            [OBJECTION OMITTED]

            A. I feel this is the first time I have read anything comprehensive
            about what a patient – what patients should receive endovascular
            treatment when. So as far as reading this, I agree, he did not
            have an NIHSS score greater than 6, and therefore not an
            endovascular candidate. But I'm an ER doc, not a neurologist.
            I don't deal with endovascular therapy.

            Q. Well, your testimony was that had he received TPA and
            endovascular therapy, he more likely than not would have
            improved, correct?

            A. Correct.

            Q. But based on this, he's not a candidate for endovascular therapy,
            is he?

            [Plaintiff’s Counsel]: Object to the form. Do you want the article
            back to be able to answer that?

            [Dr. Pope]: Sure.

            [Plaintiff’s Counsel]: Do you want to look at what he's asking you
            about?




                                               10

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                  [Dr. Pope]: Yeah, I suppose I do. It's going to be a big point, I
                  might need to read some.

                  A. Please allow me to read.

                  Q. Please do.

                  A. If I can go ahead and revise my statement that I said earlier
                  about the bibliography. I have not reviewed this article, because it's
                  all about endovascular therapy rather than TPA.

                  Q. I think what you told me earlier, one of the things that's
                  important for an expert to do is to review the relevant literature,
                  correct?

                  A. Correct. And I also said earlier that my role in the
                  treatment of this patient is from the ER. From the ER care on,
                  I don't -- I don't -- I'm not involved in the care.17

As the foregoing testimony reveals, Dr. Pope does not have a reliable basis for his opinion that

endovascular therapy would cause or contribute to Mr. Ruffino experiencing an improved

neurologic outcome. The peer reviewed medical literature that he relied on to reach his opinion

has been updated and modified. See Kumho Tire Co., 526 U.S. at 149-50 (citing Daubert, 509

U.S. at 592-94) (internal quotations omitted). Likewise, general acceptance in the medical

community often may be established by the publication of guidelines.                Here, Dr. Pope’s

testimony is not in accordance with the guidelines that existed when the injury was alleged to

have occurred. See id. Further, as indicated by the final response of Dr. Pope, he admits he

cannot offer an opinion on endovascular treatment, much less whether it would have impacted

the neurologic outcome of Mr. Ruffino.18

          Additionally, Dr. Pope should not be permitted to testify about endovascular procedures

pursuant to Rule 403 of the Federal Rules of Evidence. Dr. Pope’s testimony indicates that his



    17
         Dr. Pope’s Depo., at 94:19 – 96:20 (emphasis added).
    18
         Dr. Pope’s Depo., at 96:17 –20; 97:2 – 9.

                                                        11

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opinions on endovascular treatment are not supported by the peer review medical literature, and

that opinions about causation related to the performance or lack thereof of an endovascular

treatment are beyond his experience as an ER physician. Any relevance that Dr. Pope would be

able to offer on endovascular procedures lack probative value as they are unqualified and

unreliable, and they would seriously misled the jury about generally accepted medical opinions

on the issue. Therefore, any such opinions should be excluded pursuant to Rule 403. Similarly,

it would lead to undue delay and a waste of time because he has already indicated he is not

opining about that issue and cannot give reliable testimony about the issue.19

          Finally, even if the Court could find that Dr. Pope was otherwise qualified to offer an

opinion concerning endovascular treatment, Dr. Pope withdrew his opinions endovascular

treatments (with or without the administration of tPA), which would indicate that any new

opinion would be unreliable. Specifically, Dr. Pope testified that:

                   [Defense Counsel]Q. And so it's not -- you're not a neurologist, and
                   you're not an expert in the areas of what improvement he
                   would have had had he gotten TPA or –

                   [Dr. Pope] A. That's –

                   Q.-- anything of that nature; is that fair?

                   A. -- fair.20

          For these reasons, Dr. Archer respectfully asks this Court to bar any and all testimony

from Dr. Pope regarding endovascular treatments and whether they would have caused or

contributed to cause Mr. Ruffino to experience an improved neurologic outcome.




    19
         Dr. Pope’s Depo., at 46:16 - 22; 96:17 – 20; 97:2 – 97:7.
    20
         Dr. Pope’s Depo., at 97:2 – 7 (emphasis added).

                                                          12

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                                       CONCLUSION:

       For the foregoing reasons, Dr. Archer respectfully asks this Court for entry of an Order

striking all testimony and excluding all testimony from Dr. Pope regarding whether the

administration of tPA, alone or in conjunction with an endovascular procedure, or performance

of an endovascular treatment, alone or in conjunction with the administration of tPA, would have

caused or contributed to cause Mr. Ruffino to experience an improved neurologic outcome.

              Respectfully submitted on this 14th day of December 2018.

                                            HALL BOOTH SMITH, P.C.

                                    By:     /s/ Bryant C. Witt
                                            James E. Looper, Jr. BPR #025200
                                            Bryant C. Witt, BRP #018295
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                                            Counsel for Defendant Dr. Clark Archer




                                              13

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been furnished
by electronic means via the Court’s electronic filing system, this 14th day of December 2018, to
counsel of record as follows:

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